    '%AO 245B Case   3:13-cr-30005-PKH
               (Rev. 09/08) Judgment in a Criminal Case Document 41                Filed 11/26/13             Page 1 of 6 PageID #: 293
               Sheet I



                                             UNITED STATES DISTRICT COURT
                           WESTERN                                     District of                                 ARKANSAS
              UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  v.
                       OWEN WHEELER                                              Case Number:                     3: 13CR30005-001

                                                                                 USM Number:                      11417-010

                                                                                 Bruce D. Eddy
                                                                                 Defendant's Attorney
    THE DEFENDANT:
    X pleaded guilty to count(s)         One (1), Eleven (11) and Twenty-One (21) on June 4, 2013.

    D pleaded nolo contendere to count(s)
       which was accepted by the court.
    D was found guilty on count(s)
       after a plea of not guilty.
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    The defendant is adjudicated guilty of these offenses:
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1   Title & Section                    Nature of Offense                                                          Offense Ended
I
I   18 u.s.c. § 287 & 2                False, Fictitious, or Fraudulent Claims                                    09/26/2011

I   18 u.s.c. §§ 641 & 2               Theft of Public Money                                                      12/20/2011                   11



l   18 U.S.C. §§§ 1028A(a)(l), Aggravated Identity Theft
    (c)(l) and 2
            The defendant is sentenced as provided in pages 2 through        6
    statutory range and the U.S. Sentencing Guidelines were considered as advisory.
                                                                                                      06/13/2011                 21

                                                                                    of this judgment. The sentence is imposed within the


    D The defendant has been found not guilty on count(s)
    X Count(s)      2 through 10 and 12 through 20           Dis       X are dismissed on the motion of the United States.
             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
    the defenaant must notify the court and United States attorney of material cfianges m economic circumstances.

                                                                                 November 26 2013
                                                                                 Date of Imposition of Judgment


                                                                                 /SIP. K. Holmes III
                                                                                 Signature of Judge




                                                                                 Honorable P. K. Holmes, III, Chief United States District Judge
                                                                                 Name and Title of Judge


                                                                                 November 26 2013
                                                                                 Date
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              Sheet 2 - Imprisonment
                                                                                                      Judgment -   Page __2__ of   6
 DEFENDANT:                      OWEN WHEELER
 CASE NUMBER:                    3: 13CR30005-001


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:   60 months on Count One; 76 months on Count Eleven, terms to run concurrently; and, 24 months on
                  Count 21, to run consecutive to terms imposed on Counts One and Eleven, for a total term of 100 months.




  D       The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

  D       The defendant shall surrender to the United States Marshal for this district:

          D     a                                               D p.m.       on

          D     as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 1 p.m. on

          D     as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STA TES MARSHAL
     AO 245B       Case     3:13-cr-30005-PKH
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                    Sheet 3 -   Supervised Release
                                                                                                                Judgment-Page       3     of         6
     DEFENDANT:                       OWEN WHEELER
     CASE NUMBER:                     3: 13CR30005-001
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:             3 years on Count One; 3 years on
     Count Eleven and 1 year on Count 21, all terms to run concurrently.


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          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau of Pnsons.
     The defendant shall not commit another federal, state or local crime.

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     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anx unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
      D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
f!             future substance abuse. (Check, if applicable.)
j     X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
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      D        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
               student, as directed by the probation officer. (Check, if applicable.)
i     D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

I        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments slieet of this judgment.
1         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
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     on the attached page.

~                                                    STANDARD CONDITIONS OF SUPERVISION
l         1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;

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          2)
          3)
                the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
                the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
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!         4)    the defendant shall support his or her dependents and meet other family responsibilities;

jj        5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
l         6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
J         7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
J               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
1         8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

1         9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                a felony, unless granted permission to do so by the probation officer;
      10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
      11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
                permission of the court; and
      13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
                record or rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.
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                Sheet 3C - Supervised Release
                                                                                            Judgment-Page   4   of   6
     DEFENDANT:                OWEN WHEELER
     CASE NUMBER:              3: 13CR30005-001

                                            SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall not incur any new debt nor establish any bank or credit accounts unless receiving prior
     approval from the U.S. Probation Office, and shall make any information concerning his financial status available
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     to the probation officer upon request.
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     AO 245B   Case     3:13-cr-30005-PKH
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               Sheet 5 - Criminal Monetary Penalties

                                                                                                           Judgment -   Page    5     of       6
     DEFENDANT:                        OWEN WHEELER
     CASE NUMBER:                      3: 13CR30005-001
                                                   CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.



j    TOTALS
                           Assessment
                       $ 300.00
                                                                                 Fine
                                                                               $ -0-
                                                                                                                  Restitution
                                                                                                               $ 132,411.49

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I                                                                 ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
          The determination of restitution is deferred until
          after such determination.


I    X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
i         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid


I         before the United States is paid.


     Name of Payee                                  Total Loss*                      Restitution Ordered                  Priority or Percentage

     IRS-RACS                                                                        $132,411.49
     Attention: Mail Stop 6261
     Restitution
     Kansas City, MO 64108

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l    TOTALS                                                                          $ 132 411.49


     D     Restitution amount ordered pursuant to plea agreement $              ~~~~~~~~~~




     D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

:l         X   the interest requirement is waived for the             D fine     X      restitution.

j          D the interest requirement for the             D    fine    D restitution is modified as follows:


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       Findings fo' the to"! mnount of lo5'es 0<e <equi,ed undcr Choptcrs 109A, 110, l lOA, ond 113A of Title 18 fo' offenses committed on 01
     after September 13, 1994, but before April 23, 1996.
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               Sheet 6 - Schedule of Payments


                                                                                                             Judgment -   Page    6     of         6
     DEFENDANT:                 OWEN WHEELER
     CASE NUMBER:               3: 13CR30005-00 I


                                                           SCHEDULE OF PAYMENTS

     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

     A    X    Lump sum payment of$             132,711.49       due immediately, balance due

               D     not later than                                  , or
               X     in accordance           D C,         D D,   D     E, or     X F below; or
     B    D Payment to begin immediately (may be combined with                 D C,      D D, or      D F below); or
     C    D Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                               (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

     D    D Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

     E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
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               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

II   F    X    Special instructions regarding the payment of criminal monetary penalties:
               If not paid immediately, any unpaid financial penalty shall be paid during the period of incarceration in quarterly installments at a
               rate ofnot less than 10% of the defendant's earnmgs while incarcerated. After incarceration, any un8aid financial penalt,Y will become
!              a special condition of supervised release and may be paid in monthly installments of not less than 1 % of the defendant s net monthly
               household income or not less than $200 per month, whichever is greater.

1I
l    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
     imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
1t   Responsibility Program, are made to the clerk of the court.


t    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




II   X    Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.

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'
          Patricia Wheeler, case number 3:13CR30005-002


     D    The defendant shall pay the cost of prosecution.

     D    The defendant shall pay the following court cost(s):

     D    The defendant shall forfeit the defendant's interest in the following property to the United States:


     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

     (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
